          Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 1 of 16




                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                 Case No.      18-40076-HLT

ERIC NEWMAN,

                     Defendant(s).

           PRETRIAL AND CRIMINAL CASE MANAGEMENT ORDER

        The defendant(s), Eric Newman, appeared for arraignment and pleaded not guilty

on September 6, 2018, before U.S. Magistrate Judge, Ross A. Walters. The government,

the United States of America, appeared through Assistant U.S. Attorney(s), Christine

Kenney. Defendant(s) appeared in person and with counsel, Andrew McGowan, Assistant

Federal Public Defender.

Section 1: Purpose.

        This Pretrial and Criminal Case Management Order summarizes the parties’

disclosure and discovery obligations. This Order applies to the charge(s) now on file and

to any superseding charge(s) filed in this case. It also puts the case on track to be tried

within the deadlines imposed by the Speedy Trial Act of 1974, as amended, 18 U.S.C.

§ 3161 et seq., and this Court’s implementation of that statute through D. Kan. Rule CR

50.1.

        The Court and the parties acknowledge that complete, early, and orderly discovery

facilitates the fair and efficient resolution of cases. A principal purpose of this Order is to
         Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 2 of 16




reduce or eliminate the inefficient filing of boilerplate discovery motions and motions for

extension of time. The Court, by this Order and the parties’ good faith allegiance to its

directives, endeavours to reach a just determination in this case, avoid unnecessary motion

practice, secure administrative fairness, and eliminate unnecessary expense and delay.

       Accordingly, the parties must communicate with each other regarding scheduling

and discovery to fulfill the Court’s Order. The Court strongly encourages the parties to

exchange information promptly and at times sooner than those specified. Moreover, the

parties are encouraged to provide more comprehensive discovery than required by the letter

of this Order, by rule, or by statute, and in a manner that promotes efficiency and

accessibility. See Fed. R. Crim. P. 2.

Section 2: Timing.

       The original arraignment date governs the times specified in this Order. The times

will not be automatically modified, suspended, extended, or restarted by the filing of

additional or superseding charges. See D. Kan. Rule CR 50.1. Counsel must promptly

notify the Court if they contend the filing of additional or superseding charges requires the

time limits to be modified.

       A Status Conference before the presiding U.S. District Judge, Holly L. Teeter,

will be held on October 30, 2018, at 9:30 a.m., in Courtroom 401 of the U.S.

Courthouse in Topeka, Kansas.

Section 3: Meet and Confer.

       The Court expects that before the Status Conference the government will, in good

faith, provide all reasonably available discovery and discuss with the defense any
            Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 3 of 16




anticipated rolling discovery. Likewise, the defense will discuss anticipated reciprocal

discovery. The Court strongly encourages the parties to commence discovery and to

promptly meet and confer to allow an informed and informative discussion about the scope

and timing of discovery and related issues.

       The parties must thoroughly discuss the following matters, as then known to the

parties, so as to provide a complete and accurate report to the Court at the Status

Conference:

      1.       The status of discovery production and a firm but realistic schedule for any
               rolling discovery;

      2.       The discovery media and format1 and any issues related to the production of
               electronically stored information (ESI);2

      3.       The parties’ prospective witnesses;3
       4.      Whether the government intends to invoke the Jencks Act under 18 U.S.C. §
               3500, in part or in whole, and if so, when it will agree to produce witness
               statements, as set forth in Fed. R. Crim. P. 26.2;

       5.      In cases in which the government is not invoking the Jencks Act provisions,
               statements of prospective government witnesses and memoranda of
               interviews of prospective government witnesses, and when such information
               will be disclosed; whether there is a need for the statements or memoranda
               to be redacted; and, if so, when the unredacted information will be provided.
               If the parties are unable to reach an agreement regarding redaction, the Court
_________________________________
       1
        The defense may opt to receive hard copies of discovery if available and if it can be
disseminated sooner than discovery in electronic format.
       2
         See “Recommendations for ESI Discovery Production in Federal Criminal Cases,”
published by the Department of Justice and the Administrative Office of the U.S. Courts Joint
Working Group on Electronic Technology in the Criminal Justice System (JETWG) (February
2012).
       3
          This includes government cooperating witnesses, as confirmed by the government at that
time. If disclosure of witness-locating information poses a security concern, the government may
alternatively make the witness available for defense interview, with the witness’s consent.
            Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 4 of 16




               must be notified at the Status Conference. The Court may require the
               government to show why, specific to the case or the witness, temporary
               redaction is necessary and appropriate.

       6.      Whether the defense intends to opt out of any discovery receipt that would
               trigger reciprocal discovery obligations under Fed. R. Crim. P. 16(b) and
               Section 10, below.

       7.      Whether any discovery should be subject to a protective order;

       8.      Any discovery dissemination limitations;

       9.      Information required by Brady v. Maryland, 373 U.S. 83 (1963) and Giglio
               v. United States, 405 U.S. 150 (1972), and their progeny.

       10.     Evidence under Fed. R. Evid. 404(b), regardless of whether the government
               intends to offer it at trial;

       11.     Reciprocal discovery, as required by Fed. R. Crim. P. 16(b)(1), and notice of
               defenses as more fully described in Section 10, below; and

       12.     Whether the case should be designated as complex under the Speedy Trial
               Act.

Section 4: Status Conference.

       At the Status Conference, the parties must (1) request a Fed. R. Crim. P. 11 change-

of-plea hearing, or (2) propose deadlines for pretrial motions and trial in compliance with

the Speedy Trial Act. The parties must advise the Court whether evidentiary hearings on

such motions are anticipated and how long the trial is expected to last. The Court expects

the parties will be prepared to report on the matters listed in Section 3, above, and offer a

firm but realistic schedule for any remaining discovery to be completed.

       Any motion to toll or expand the Speedy Trial Act must be filed before the Status

Conference and comply with Section 13, below.
            Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 5 of 16




       The government must give notice if it intends to invoke the Jencks Act, 18 U.S.C.

§ 3500. The defense must give notice if it intends to opt out of receiving any discovery

that would trigger reciprocal discovery obligations under Fed. R. Crim. P. 16(b).

       Any unresolved discovery or scheduling matters must be presented to the Court at

the Status Conference, along with the reasons the parties could not agree despite good faith

allegiance to the directives of this Order and despite their having met and conferred. The

Court may rule upon the unresolved matters at the Status Conference, or may direct the

parties to further confer or to file written motions for the Court’s consideration. In cases in

which the government is not invoking the Jencks Act, if the parties are unable to reach an

agreement about redaction of witness statements of prospective government witnesses or

memoranda of interviews of prospective government witnesses, the Court will grant a

related motion only upon a specific showing that temporary redaction is necessary and

appropriate in this case and for that witness.

Section 5: Automatic Discovery and Notice Obligations.

       A specific request by either party is not necessary to trigger the obligations set forth

in this Order or any discovery-related rule or statute. In general, the parties must

immediately comply with:

       1.      All notice provisions of the Federal Rules of Criminal Procedure;4

       2.      Brady and Giglio, and their progeny; and

_________________________________
       4
         Fed. R. Crim. P. 12 (government notice of intent to use evidence defendant may seek to
suppress); Fed. R. Crim. P. 12.1 (notice of alibi defense); Fed. R. Crim. P. 12.2 (notice of insanity
defense); Fed. R. Crim. P. 12.3 (notice of public authority defense); Fed. R. Crim. P. 16 (parties’
disclosures and discovery); and Fed. R. Crim. P. 26.2 (production of witness statements).
            Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 6 of 16




       3.      If the government has given notice it intends to invoke the Jencks Act, it must
               produce witness statements according to 18 U.S.C. § 3500 and Fed. R. Crim.
               P. 26.2.

A party may not assert the absence of a specific request as a reason for its failure to comply

with this Order or any applicable rule or statute.

Section 6: Government’s Discovery Obligations.

       This Order requires the government to provide discovery, commencing on or before

the date of arraignment, and to timely complete discovery, as more fully outlined below,

so the parties are equipped to engage in intelligent and informed plea negotiations early in

this case. Discovery is tied to the date of arraignment, not the trial setting, given most cases

are disposed of by plea, and given a defendant’s decision to plead guilty is a critical

decision that must be made voluntarily and with knowledge, information, and

understanding about the factual and evidentiary basis for the charges at issue, as well as

the exculpatory and inculpatory evidence about the defendant’s conduct.

       Without limiting the foregoing general directives, pursuant to Fed. R. Crim. P. 16(a)

and other statutes, laws, and rules, unless the defense has opted out of any discovery receipt

that would trigger reciprocal discovery obligations under Fed. R. Crim. P. 16(b), the

government must provide discovery by copying for the defense and/or permitting the

defense to inspect and copy or photograph all discovery, including:

       1.      Any relevant written or recorded statements made by the defendant,
               including grand jury testimony, in the government’s possession, custody, or
               control, the existence of which is known or by the exercise of due diligence
               may become known to the government;

       2.      The substance of any relevant oral statement made by the defendant, and that
               portion of any written record containing the substance of any relevant oral
     Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 7 of 16




        statement made by the defendant, whether before or after arrest, in response
        to interrogation by any person then known to the defendant to be a
        government agent;

3.      A copy of the defendant’s prior criminal record, if any, in the government’s
        possession, custody, or control, the existence of which is known or by the
        exercise of due diligence may become known to the prosecutor;

4.      Any books, papers, documents, photographs, tangible objects, buildings or
        places, or copies or portions thereof, in the government’s possession,
        custody, or control and that are material to the preparation of a defense or are
        intended for use by the government as evidence in its case-in-chief at trial,
        or were obtained from or belong to the defendant;

5.      Any results or reports of physical or mental examinations, or scientific tests
        or experiments, or copies thereof in the government’s possession, custody,
        or control, the existence of which is known or by the exercise of due diligence
        may become known to the government, and that are material to the
        presentation of a defense or are intended for use by the government as
        evidence in its case-in-chief at trial;

6.      Except in cases in which the government has invoked the Jencks Act
        provisions, as allowed above, all statements or memoranda of proffers by a
        government witness, including the name of the witness, and either
        information to locate the witness or an offer to arrange access for the
        defendant to interview the witness if the witness consents to such interview.
        Any proffer statements by a government witness must be produced in
        unredacted form, unless the parties agree or the Court orders otherwise;

7.      The government must provide the defendant a written summary of testimony
        the government intends to use under Fed. R. Evid. 702, 703, or 705 during
        its case-in-chief. As required by Fed. R. Crim. P. 16(a)(1)(G), this summary
        must describe the witness’s opinions, the bases and reasons for those
        opinions, and the witness’s qualifications. If the defendant requests such
        expert discovery and the government complies, or if the defendant has given
        notice under Fed. R. Crim. P. 12.2(b) of an intent to present expert testimony
        of the defendant’s mental condition, then the defendant must provide the
        government reciprocal expert discovery. See Fed. R. Crim. P. 16(b)(1)(C);

8.      Pursuant to Brady and its progeny, all evidence in the government’s
        possession, custody, or control that would tend to exculpate the defendant,
        that is, evidence favorable to a defense or dispositive motion, or would serve
        to mitigate any punishment that which may be imposed in this case;
            Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 8 of 16




       9.      Pursuant to Giglio and its progeny, all evidence in the government’s
               possession, custody, or control that would constitute impeachment of
               government witnesses. Giglio evidence includes, but is not limited to, the
               following:

               a.    Any evidence tending to show threats, promises, payments, or
                     inducements made by the government or any of its agents that would
                     bear upon the credibility of any government witness;

               b.    Any statement of any government witness that is inconsistent with a
                     statement by the witness that led to the indictment in this case;

               c.    Any statement of any government witness that the attorney for the
                     government knows or reasonably believes will be inconsistent with
                     the witness’s testimony at trial;

               d.    Any prior conviction of any government witness that involved
                     dishonesty or false statement or for which the penalty was death or
                     imprisonment in excess of one year under the law under which he or
                     she was convicted;

               e.    Any pending felony charges against any government witness; and

               f.    Any specific instances of the conduct of any government witness that
                     would tend to show character for untruthfulness; and

       10.     Evidence under Fed. R. Evid. 404(b), including evidence of other crimes,
               wrongs, or acts of the defendant, regardless of whether the Government
               introduces the evidence at trial. While the notice of Rule 404(b) use is not
               due until 21 days before trial (see Section 9, below), any evidence properly
               characterized as Rule 404(b) evidence must be disclosed subject to the
               general discovery deadlines set forth below, and subject to the continuing
               duty to disclose discovery during the life of the case. Because Rule 404(b)
               evidence may be critical to plea negotiations, early discovery of such
               evidence is warranted.

Section 7: Protection of Discovery Material.

       Although the exchange of discovery is critical to the efficient and just resolution of

a matter, the production of information may present inherent risks to the privacy and safety

interests of the parties and non-parties, such as witnesses, victims, and cooperating
            Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 9 of 16




individuals. The parties may enter into a written agreement regarding the dissemination of

witness statements. Otherwise, pursuant to Fed. R. Crim. P. 16(d)(1), the following

protective conditions apply to witness statements, as defined by 18 U.S.C. § 3500.

       1.      Witness statements must be maintained in a safe and secure manner by
               defense counsel.

       2.      Witness statements may not be disseminated to the defendant personally,
               except as by court order or written agreement between the parties.

       3.      Witness statements and other protected material may be disclosed by defense
               counsel only to the following designated persons:

               a.     investigative, secretarial, clerical, and paralegal personnel;

               b.    independent expert witnesses, investigators, or advisors retained by
                     defense counsel in connection with this action;

               c.    other witnesses testifying to the contents of the document/material;
                     and

               d.    other persons authorized by the Court upon motion of either party.

Counsel must provide a copy of this Order to any designated person to whom discovery

material is disclosed, and they must agree to be subject to the terms of this Order.

       These statements may not be redacted except as ordered by the Court. The foregoing

provisions do not prevent disclosure of discovery material in support of any motion, or at

a hearing, trial, or sentencing proceeding held in connection with this case, or to any

District Judge or Magistrate Judge of this Court for purposes of this case.

Section 8: Jencks Act Material.

       As earlier indicated, if the government chooses to invoke the provisions of the

Jencks Act, 18 U.S.C. § 3500, it must give notice to the Court at the Status Conference.

The Court acknowledges the statutory authority of the government to withhold witness
         Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 10 of 16




statements until the witness has testified. But the Court encourages early and complete

production in the interest of fairness and the efficient and expeditious resolution of cases,

consistent with the other cooperative and collaborative provisions of this Order. The Court

expects the invocation of the Jencks Act will be rare, and understands the government and

defense have a written memorandum of understanding that requires either the U.S.

Attorney or Criminal Chief to approve any invocation of the Jencks Act. At the very least,

in the interests of a timely and orderly trial, the government must be prepared to provide

Jencks Act material three days before trial.

       In the production of discovery, Brady and Giglio trump Jencks. That is, if material

qualifies as either Brady or Giglio, then it must be provided as directed by Section 6, above,

even if it otherwise qualifies as Jencks Act material.

Section 9: Government’s Discovery Deadlines.

       Discovery must commence on or before the date of arraignment of the defendant(s).

Discovery must be completed within 30 days after arraignment, to the extent possible. Any

such discovery not provided by 30 days after arraignment must be promptly provided upon

availability. This 30-day deadline does not apply to discovery that is:

       1.     not yet available;

       2.     not yet memorialized in writing;

       3.     ESI that is not yet processed and formatted for delivery and access; or

       4.      Jencks Act materials.

       Except in cases in which the government has invoked the Jencks Act, if any witness

provides a statement within 30 days of trial, the government must promptly provide the
         Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 11 of 16




defense with a summary of the witness’s statements that are different in any respect than

prior oral or written statements by the witness, or that provide information or detail not

provided by the witness in any prior statements discovered by the defense. The government

must provide this summary to the defense by email within 72 hours of the witness’s

statements, and in no event any later than 4 hours before the witness testifies. The

statements or memoranda of interviews must also be memorialized in writing and promptly

provided to the defense.

       The government must file its notice of Fed. R. Evid. 404(b) evidence it intends to

use at trial, on or before 21 days before trial.

Section 10: Reciprocal Discovery.

The government is granted reciprocal discovery unless the defense has given notice that it

intends to opt out of receiving discovery that would trigger reciprocal discovery

obligations. Specifically, as required by Fed. R. Crim. P. 16(b)(1)(A), (B), and (C), the

defense must provide:

       1.     The government with the opportunity to inspect and to copy or photograph
              books, papers, documents, data, photographs, tangible objects, buildings or
              places, or copies or portions of any of these items if:

              a.      the item is within the defendant’ possession, custody, or control; and

              b.      the defendant intends to use the item in the defendant’s case-in-chief
                      at trial.

       2.     The government with the opportunity to inspect and to copy or photograph
              the results or reports of any physical or mental examination and of any
              scientific test or experiment if:

              a.      the item is within the defendant’s possession, custody, or control; and
         Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 12 of 16




              b.     the defendant intends to use the item in the defendant’s case-in-chief
                     at trial, or intends to call the witness who prepared the report and the
                     report relates to the witness’s testimony.

       3.     A written summary of any testimony the defense intends to use under Fed.
              R. Evid. 702, 703, or 705 as evidence at trial, if:

              a.     the defendant requests disclosure under Fed. R. Crim. P. 16(a)(1)(G)
                     and the government complies, or

              b.     the defendant has given notice under Fed. R. Crim. P. 12.2(b) of an
                     intent to present expert testimony on the defendant's mental condition.

Summaries of expert testimony must describe the witness’s opinions, the bases and reasons

for those opinions, and the witness’s qualifications.

       The defense must provide reciprocal discovery within 14 days after the government

makes its disclosures as required in Section 6, above. Within that same 14-day period, the

defense must provide the government disclosure of information called for by Fed. R. Crim.

P. 12.1, 12.2, and 12.3.

       If the defendant timely discloses an alibi defense under Rule 12.1, then within 14

days after the defendant’s disclosure, the government must serve upon the defendant a

written notice stating the names and locating information (or ability to access for interview)

the witnesses upon whom the government intends to rely to establish the defendant’s

presence at the scene of the alleged offense and any other witnesses to be relied on to rebut

testimony of any of the defendant’s alibi witnesses.

Section 11: Electronically Stored Information (ESI).

       All discovery in electronic media must be accessible, searchable, and organized.

The parties agree to provide discovery in PDF, TIFF, or native/near-native file formats.

Any information needed to access the material must be provided contemporaneously. If
        Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 13 of 16




particular discovery warrants different media or format, or the proprietary nature of the

format makes the discovery generally unreadable, the parties must work together to ensure

timely access to the material. The disclosing party must not degrade the searchability of

documents or eliminate metadata associated with files as part of the document-production

process. Imaged files must be searchable unless the receiving party agrees to accept the

discovery in a non-searchable format. The Court will employ as a guide, and the parties

are strongly encouraged to follow, the “Recommendations for ESI Discovery Production

in Federal Criminal Cases.” See footnote 2 in Section 3, above.

Section 12: Continuing Duty to Disclose Discovery.

       All parties have a continuing duty to promptly provide any newly discovered or

acquired information within the scope of this Order. Failure to abide by these obligations

could result in the imposition of sanctions or the following remedies as set out in Fed. R.

Crim. P. 16(d)(2). The Court may:

       1.     order the party to permit the discovery or inspection, specify its time, place,
              and manner, and/or prescribe other just terms and conditions;

       2.     grant a continuance;

       3.     prohibit that party from introducing the undisclosed evidence; or

       4.     enter any other order that is just under the circumstances.

Section 13: Speedy Trial Act.

       Any motion seeking to extend the 70-day Speedy Trial Act trial deadline and to

designate excludable time under the ends-of-justice provision in 18 U.S.C. 3161(h)(7) must

be filed jointly by the government and the defense. Any disagreements between the parties

must be concisely set forth in the motion, e.g., the reasons for the competing positions and
           Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 14 of 16




supporting rationale. A motion filed after the Status Conference will be closely scrutinized

by the Court to determine whether it raises issues that should have been reasonably

anticipated before the Status Conference.

       Motions to extend the Speedy Trial Act’s deadlines that are supported only by

conclusory or boilerplate statements tracking the language found in 18 U.S.C.

3161(h)(7)(B)(i)-(iv), even if stipulated by the parties, have been held by the Tenth Circuit

to be insufficient as a matter of law.5 For example, it is not enough merely to state that

counsel is new and needs more time to adequately prepare for trial, or that counsel or

witnesses will be out of town in the weeks preceding trial. Press of other business ordinarily

is not sufficient to justify an ends-of-justice continuance. Simply put, the Court must be in

a position to make adequate factual findings that the ends of justice served by granting any

requested extension actually do outweigh the best interests of the defendant, and the public,

in a speedy trial. In addition, counsel must email to the chambers of the judge who will

preside at the conference a proposed order that includes detailed findings under 18 U.S.C.

3161(h)(7). Factors important to this Court include why the mere occurrence of the event

identified by the party as necessitating the continuance results in the need for additional

time and, in turn, how failure to grant the continuance would prejudice that party’s position

at trial, would be likely to make a continuation of such proceeding impossible, or otherwise

result in a miscarriage of justice. For example, what’s the procedural stage of the case?



_________________________________
       5
         United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009); see also Zedner v. United
States, 547 U.S. 489, 498 (2006).
        Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 15 of 16




Does the case have a complicated history? If there’s recently disclosed discovery, how

much discovery was produced previously, what’s the nature, relevance, or importance of

the new discovery, and what further investigation is needed as a result of the new

discovery? And why is the length of the requested continuance (e.g., one month vs. two

months) appropriate?

       If either party moves to designate the case as complex, the reasons should be

explained in reasonable detail. In cases that don’t qualify as unusual or complex, the

motion should address whether the failure to grant a continuance would deny the defendant

reasonable time to obtain counsel, would unreasonably deny the defendant or the

government continuity of counsel, or would deny the defense counsel or the prosecutor the

reasonable time necessary for effective preparation, taking into account and demonstrating

(not just stating) that counsel has exercised due diligence. If a witness is unavailable, the

motion should explain the significance of the witness, why the witness is unavailable, and

when the witness will be available.

       In multi-defendant cases, the motion must list, as to each defendant, the date on

which the indictment or information was filed, the date of the defendant’s initial

appearance, whether the defendant is in custody and, if so, the date on which the defendant

went into custody. In such cases, although the joinder of an additional defendant with new

charges might result in excludable time (see 18 U.S.C. 3161(h)(6)), new defendants may

be subject to different Speedy Trial Act deadlines and thus the motion must address the

prospect that one or more defendants might be tried separately to ameliorate speedy-trial

concerns.
        Case 5:18-cr-40076-JAR Document 8 Filed 09/06/18 Page 16 of 16




Section 14: Flexibility.

      As indicated in Section 1, above, the basic purposes of this Order are to provide for

the just determination of every criminal proceeding, to secure simplicity in procedure and

fairness in administration, and to eliminate unjustifiable expense and delay. See Fed. R.

Crim. P. 2. Accordingly, at any time, for good cause shown, the Court may deny, restrict,

or defer discovery or inspection, or grant other appropriate relief. See Fed. R. Crim. P.

16(d)(1).

      IT IS SO ORDERED.

      Dated September 6, 2018, at Topeka, Kansas.


                                         s/ Ross A. Walters__________
                                         Ross A. Walters
                                         U.S. Magistrate Judge
